              Case 2:06-cr-00428-KJM Document 164 Filed 03/13/12 Page 1 of 1


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8
                              IN THE UNITED STATES DISTRICT COURT
9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA

10   THE UNITED STATES OF AMERICA,                )         No. Cr.S-06-00428 KJM
                     Plaintiff,                   )
11                                                )         ORDER
12
             v.                                   )
                                                  )
13   TPRING SUMMERFIELD,                          )
                     Defendant.                   )         Judge: Hon. Kimberly J. Mueller
14   ================================)
15           IT IS HEREBY ORDERED that the pre-trial release conditions for defendant Tpring
16   Summerfield are modified in the following manner:
17           Tpring Summerfield is no longer to report to, or be monitored by, pre-trial services as a
18   condition of her release.
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20   Dated: March 12, 2012.
21
                                                            UNITED STATES DISTRICT JUDGE
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